 Case 5:04-cr-00191        Document 238        Filed 08/24/09      Page 1 of 4 PageID #: 1483




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 5:04-cr-00191-02

CHARLES L. MCMILLION, JR.,

                              Defendant.



        REVOCATION OF SUPERVISED RELEASE AND JUDGMENT ORDER

       On August 20, 2009, the Defendant, Charles L. McMillion, Jr., appeared in person and by

counsel, Timothy P. Lupardus, for a hearing on the Petition for Warrant or Summons for Offender

Under Supervision submitted by the Defendant’s supervising probation officer. The United States

was represented at the hearing by Monica L. Dillon, AUSA. United States Probation Officer Brett

S. Taylor was also present at the hearing.

       On July 7, 2005, the Defendant was sentenced to a term of imprisonment of 51 months to

be followed by a 3-year term of supervised release. The Defendant began serving the term of

supervised release on June 22, 2007. On April 17, 2009, the Petition for Warrant or Summons for

Offender Under Supervision [Docket 207] was filed charging the Defendant with violating certain

conditions of supervised release.

       At the hearing, the Court found that the Defendant had received written notice of the alleged

violations as contained in the Petition, and that the evidence against the Defendant had been
 Case 5:04-cr-00191          Document 238         Filed 08/24/09      Page 2 of 4 PageID #: 1484




disclosed. The Court further found that the Defendant appeared, was given the opportunity to

present evidence, and was represented in the proceeding by counsel.

          The Court then found, by a preponderance of the evidence, that the Defendant violated

certain conditions of supervised release as contained in the Petition; specifically, Violation Number

1 and Violation Number 3 appearing in the Petition as follows:

          1.     Violation of General Condition: The defendant shall not commit another
                 federal, state, or local crime:

                 On March 30, 2009, in Wyoming County, West Virginia, [the defendant] struck Jim
                 Brown, III, in the face with what was believed to be a rubber hammer. According
                 to the victim, he suffered multiple facial fractures as a result of the attack. Based on
                 information provided to members of the Wyoming County Sheriff’s Office, it
                 appears that [the defendant] committed malicious wounding in violation of West
                 Virginia Code 61-2-9(a).

                 In addition to the above alleged malicious wounding, the defendant appears to have
                 committed the misdemeanor offense of assault as defined by the West Virginia Code
                 at 61-2-9(b). Th[e probation] officer interviewed Ashley Francis, an employee of
                 Ron’s Mini Packette in Glen Fork, West Virginia, and witness to the events of March
                 30, 2009 as alleged [above]. When Ms. Francis witnessed [the defendant] assaulting
                 the victim, she yelled for him to let the victim go. According to Ms. Francis, the
                 defendant shouted obscenities at her and commanded her to go back inside the store.
                 Ms. Francis was in close proximity of the defendant and she reports that she
                 perceived [the defendant’s] command as a threat. As such, she indicates that she was
                 placed in fear of receiving an immediate battery[; and]

     3.          Violation of Standard Condition No. 7: The defendant shall refrain from
                 excessive use of alcohol and shall not purchase, possess, use, distribute, or
                 administer any controlled substance or any paraphernalia related to any
                 controlled substances, except as prescribed by a physician:

                 During a meeting with th[e probation] officer on March 24, 2009 at the United States
                 Probation Office in Beckley, [the defendant] admitted he was using the pain
                 medication Lortab. He was prescribed the medication and he was to take three
                 Lortabs per day. [The defendant] admitted he was not taking the medication as
                 prescribed. He reported he was taking five pills per day and believed his use may
                 be escalating.




                                                    2
 Case 5:04-cr-00191        Document 238         Filed 08/24/09       Page 3 of 4 PageID #: 1485




               Based on his own admission, [the defendant] was not taking his prescription
               medication as prescribed by his physician.

In making these findings, the Court relied upon the information contained in the Petition and the

Defendant’s admission that he committed Violation Number 1 and Violation Number 3.

       The United States moved to withdraw Violation Number 2. Accordingly, the Court made

no findings as to the allegations set forth in Violation Number 2.

       Having found the Defendant to be in violation of the conditions of supervised release, the

Court REVOKED the Defendant’s supervised release and entered judgment as follows:

       It is the JUDGMENT of the Court that the Defendant be committed to the custody of the

Federal Bureau of Prisons for a term of 12 MONTHS. The Defendant shall be given credit for time

served as appropriately calculated by the Bureau of Prisons. Upon release from prison, the

Defendant shall be placed on supervised release for a term of 24 MONTHS. Within 72 hours of

release from custody, the Defendant shall report in person to the United States Probation Office in

the district to which the Defendant is released. While on supervised release, the Defendant must not

commit another federal, state, or local crime, must not possess a firearm or other dangerous device,

and must not unlawfully possess a controlled substance. The Defendant must also comply with the

standard terms and conditions of supervised release as recommended by the United States

Sentencing Commission and as adopted by the United States District Court for the Southern District

of West Virginia, including the special condition that the Defendant shall participate in a program

of testing, counseling, and treatment for drug and alcohol abuse as directed by the probation officer,

until such time as the Defendant is released from the program by the probation officer. In addition,

the Defendant shall comply with the following SPECIAL CONDITIONS OF SUPERVISED

RELEASE:

                                                  3
 Case 5:04-cr-00191       Document 238         Filed 08/24/09      Page 4 of 4 PageID #: 1486




       1)     While on supervised release, the Defendant shall participate in anger management
              counseling as directed by his probation officer and approved by the Court; and

       2)     While on supervised release, the Defendant shall have no contact, either directly or
              indirectly, with the following witnesses in this case: J. R. Brown III; Ashley Francis;
              and Linda Mullen.

       The Defendant was remanded to the custody of the United States Marshal.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                             ENTER:          August 24, 2009




                                                4
